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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 22-cv-22307-BLOOM/Otazo-Reyes

 MARIA FERNANDA SOTO LEIGUE,
 individually and on behalf of all others
 similarly situated,

        Plaintiff,

 v.

 EVERGLADES COLLEGE, INC.,
 doing business as Keiser University,

       Defendant.
 ________________________________/

                     ORDER ON EXPEDITED JOINT MOTION TO REMAND

        THIS CAUSE is before the Court upon Plaintiff and Defendant’s Expedited Joint Motion

 to Remand, ECF No. [74], filed on March 1, 2023. Plaintiff filed a Motion to Sever and Remand

 (ECF No. [67]) Count I of Plaintiff’s First Amended Complaint, ECF No. [13], conceding the

 absence of an injury-in-fact. Defendant responded that if Count I were remanded based upon the

 absence of an injury-in-fact, Count II of the First Amended Complaint should also be remanded

 because it is based on the same purported harm as Count I, and Count II likewise lacks an injury-

 in-fact. ECF No. [73]. The parties agree that the entire case should be remanded to the state court.

        Accordingly, it is ORDERED AND ADJUDGED that the Motion, ECF No. [74], is

 GRANTED. This case is REMANDED to the Circuit Court of the Eleventh Judicial Circuit in

 and for Miami-Dade County, Florida. Plaintiff’s Motion to Sever and Remand, ECF No. [67], and

 Plaintiff’s Motion to Certify Class, ECF No. [70], are DENIED AS MOOT. The Clerk of Court

 is directed to CLOSE this case.
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                                              Case No. 22-cv-22307-BLOOM/Otazo-Reyes


        DONE AND ORDERED in Chambers at Miami, Florida, on March 2, 2023.




                                                __________________________________
                                                BETH BLOOM
                                                UNITED STATES DISTRICT JUDGE
 Copies to:

 Counsel of Record




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